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EXHIBIT A
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UNITED STATES DISTRICT COURT
“DISTRICT OF MASSACHUSETTS

IN RE: NEURONTIN MARKETING,
SALES PRACTICES AND PRODUCTS
LIABILITY LITIGATION, Civil Action
No. 04-10981-PBS

June 22, 2009, 3:00 p.m.

PARTIAL TRANSCRIPT OF MOTION HEARING
BEFORE THE HONORABLE PATTI B. SARIS
UNITED STATES DISTRICT COURT
JOHN J. MOAKLEY U.S. COURTHOUSE

1 COURTHOUSE WAY

BOSTON, MA 02210

DEBRA M. JOYCE, RMR, CRR
Official Court Reporter
John J. Moakley U.S. Courthouse
1 Courthouse Way, Room 5204
Boston, MA 02210
617-737-4410

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PROCEEDINGS

{The following proceedings were held in open
court before the Honorable Patti B. Saris, United States
District Judge, United States District Court, District of
Massachusetts, at the John J. Moakley United States Courthouse,
1 Courthouse Way, Boston, Massachusetts, on June 22, 2009.)

(The sealed portion of this hearing has been removed
and is under a separate cover.)

* * * * * * * * * *

THE COURT: Just for the record, I've reopened the
hearing. What's your name from Bloomberg?

Fordland (phon.).

This is what this was about. There's basically a new
witness that has come to light, at least one, possibly another,
but really one, which has some -- which -- who has relevant
information late disclosed, late found, and she is scared about
being identified, and that is why I have not put it on the
public record out of concerns at this point, preliminary
concerns for her safety, or for her at least concerns about
being confronted, shall we say. And that's all I'm going to
Say at this point.

And I've allowed a deposition to be taken, and then
counsel will come back to me to tell me what to do next,
whether it supports, A, further investigation; or, B,

continuance of the trial; or, C, just battle of briefs what to

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the end of August --

MR. OHLEMEYER: I think with the guidance you've given
us, we've worked very hard and today is a day we've basically
completed most of our exchanges, to pare down the witnesses --

THE COURT: It's going to go forward on that date, the
issue is whether I need more time.

MR. OHLEMEYER: I think we're comfortable we can meet
your time deadlines as you've given them to us. I think -- I
think that is our operating assumption, that we can do that and
will do that, and I think that's probably preferable to what
happens sometimes when you let a jury go for a week and
anything happens --

THE COURT: One possibility I might do is talk to
Mr. Alba about maybe -- here's the issue for me is -- I gave
the date you chose on the timetable you chose. I essentially,
as I usually do, carved off three days, one to impanel, do
openings and closings, arguments and instructions, and then I
usually give at least a day for deliberations. So I took
three -- quite transparent how I did this. I took three days
off the top and then I divide it by two, it wasn't rocket
science, on a 9:00 to 1:00 day.

On the other hand, this is the first of a major trial
involving major scientific issues, and we have two sets of
experts, one having to do with the basic causation issue, and

one having to do with the basic suicide issue, Dr. Maris.

